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                            No. 21-14476-A
                ______________________________________

            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
               ______________________________________

   JOHN S. LOWMAN IV, HOLLY LOWMAN, RICK BRIAN STEVENS,
            MARYANN STEVENS, and JABIN BONNETT,

                                 Petitioners,
                                       v.
FEDERAL AVIATION ADMINISTRATION, and STEPHEN M. DICKSON, in
   his official capacity as Administrator, Federal Aviation Administration,

                                Respondents,

                           CITY OF LAKELAND,

                            Intervenor-Respondent.
  ______________________________________________________________
   On Petition for Review of an Order of the Federal Aviation Administration
  ______________________________________________________________
                     PETITIONERS’ OPENING BRIEF
  ______________________________________________________________

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     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT
      I hereby certify as required by Eleventh Circuit Rules 26.1-1 through 26.1-5

that, to the best of my knowledge, the following is a complete list of persons and

entities that have an interest in the outcome of this case:

      Amazon.com, Inc. (AMZN)

      Amazon Services

      Bonnett, Jabin, Petitioner

      City of Lakeland, Florida, Intervenor-Respondent

      Conrad, Eugene, Airport Director, City of Lakeland, Florida

      Davis, Palmer, City Attorney for the City of Lakeland, Florida

      Dickson, Stephen M., Respondent

      Leech Tishman Fuscaldo & Lampl, Inc., Counsel for Petitioners

      Lowman, Holly, Petitioner

      Lowman IV, John S., Petitioner

      Mutz, H. William, Mayor of the City of Lakeland, Florida

      Stevens, Maryanne, Petitioner

      Stevens, Brian Rick, Petitioner




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              STATEMENT REGARDING ORAL ARGUMENT
      Petitioners request oral argument in this matter. Oral argument will assist the

Court in determining the important issues presented regarding subject matter

jurisdiction within the specific context of this case, including assisting the Court in

understanding the factual and historical background. Oral argument will also assist

the Court in assessing the record, including the administrative record submitted by

the Federal Aviation Administration.




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                   GLOSSARY OF DEFINED TERMS
 AGL                                  Above Ground Level
 Airport                              Lakeland Linder International
                                      Airport (three letter identifier:
                                      LAL)
 APA                                  Administrative Procedure Act,
                                      5 U.S.C. §§ 701 –706
 CAA                                  Clean Air Act, 42 U.S.C.
                                      §7401 et seq. (1970)
 CATEX                                Catex Categorical Exclusion
 CEQ Regulations                      40 C.F.R. Parts 1500-
                                      1508
 CEQ Handbook                         Council on Environmental
                                      Quality, Considering
                                      Cumulative Effects Under
                                      the National
                                      Environmental Policy Act
                                      (January 1997)
 DNL                                  Day Night Average Sound
                                      Level
 EA                                   Environmental
                                      Assessment; 42 U.S.C. §
                                      4332(2)(E); 40 C.F.R. §
                                      1501.3; 40 C.F.R. § 1508.9
 EIS                                  Environmental Impact
                                      Statement; 42 U.S.C. §
                                      4332(2)(C)
 FAA                                  Federal Aviation
                                      Administration
 FAA Primer                           Aviation Emissions,
                                      Impacts & Mitigation: A
                                      Primer, January 2015
 FICAN                                Federal Interagency
                                      Committee on Aviation Noise
 FICON                                Federal Interagency
                                      Committee on Noise
 FONSI/ROD                            FAA’s October 29, 2021
                                      Finding of No Significant
                                      Impact/Record of Decision


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 ISO                                            International Organization
                                                for Standardization
 Phase I EA                                     Environmental Assessment
                                                conducted for the construction
                                                of three MRO hangars on an
                                                air cargo facility, dated
                                                August 30, 2016
 Phase II EA                                    Environmental Assessment
                                                conducted for the expansion of
                                                the Amazon Air Cargo
                                                Facility at Lakeland Linder
                                                International Airport Dated
                                                October 29, 2021
 NEPA                                           National Environmental
                                                Policy Act
 NES                                            Neighborhood
                                                Environmental Survey
 MRO                                            Maintenance, Repair, and
                                                Overhaul
 Project                                        Construction of the Amazon
                                                Air Cargo Facility at Lakeland
                                                Linder International Airport
 SIP                                            State Implementation Plan




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                      STATEMENT OF JURISDICTION


      Under 49 U.S.C. § 46110(a), this Court has jurisdiction over this petition for

review of the Federal Aviation Administration’s (“FAA”) October 29, 2021,

Finding of No Significant Impact/Record of Decision (“FONSI/ROD”) that

approved the FAA Proposed Action related to the construction of an Amazon air

cargo facility at Lakeland Linder International Airport and found those changes to

be consistent with existing national environmental policies and objectives.

      FAA’s FONSI/ROD states that it is “FAA’s final decision and approval for

the actions identified in the EA and constitutes a final order of the FAA

Administrator and is subject to review by the Courts of Appeal of the United States

in accordance with the provisions of 49 U.S.C. § 46110.” See Florida

Manufactured Hous. Ass’n v. Cisneros, 53 F.3d 1565, 1574 (11th Cir. 1995).

      All of Petitioners in this petition for review were residents or had their

principal place of business within the Eleventh Circuit when they timely filed this

petition for review on or before December 28, 2021, within the 60-day period for

seeking review under § 46110(a).




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                         STATEMENT OF THE ISSUES
      1.     Did the FAA violate the National Environment Policy Act (“NEPA”)

by segmenting its review of the environmental impacts resulting from the

development and construction of the Amazon air cargo facility at Lakeland Linder

International Airport through the issuance of its October 29, 2021 “Finding of No

Significant Impact and Record of Decision - Environmental Assessment for Phase

II Air Cargo Facility Development at Lakeland Linder International Airport”?

      2.     Did FAA violate NEPA by failing to consider the cumulative impact

of its past actions, resulting in a false environmental baseline used to evaluate and

assess the impact of the Phase II Air Cargo Facility Development at Lakeland

Linder International Airport?

      3.     Did the FAA violate NEPA by failing to analyze and address all air

quality impacts of the Phase II Air Cargo Facility Development at Lakeland Linder

International Airport in compliance with the underlying purpose and requirements

of NEPA?




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                  STATEMENT OF THE CASE AND FACTS


   I. Aviation Noise and Emission Have Been Recognized as a Critical Public
      Health Issue.

      There is growing scientific evidence linking flights over noise sensitive

residential areas, such as the Petitioners’ homes, to substantial health impacts. This

has raised a concern about public health and welfare of the residents living below

those flight paths. As FAA acknowledges in its Neighborhood Environmental

Survey, these impacts to the public’s health and welfare lie outside the obsolete 65

DNL contour.

      A. FAA Recognizes that Aviation Noise Is a Public Health Issue.

      In response to public comments, the Environmental Assessment conducted

for the expansion of the Amazon Air Cargo Facility at Lakeland Linder

International Airport Dated October 29, 2021(“Phase II EA”) mentions three

reports regarding aviation noise. These three reports all conclude that aviation

noise is detrimental to the public health and that it harms people beyond the 65

DNL contour.

      1. FICAN Research Review of Selected Aviation Noise Issues (April
         2018).

      In 1992, the Federal Interagency Committee on Noise (FICON) developed a

dose-response curve (“FICON Curve”) showing that 12.3% persons were “highly




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annoyed” by a Day-Night Average Sound level (DNL) of 65 dB, (AR 1 20, p. 2).

FAA used the FICON Curve to set a significance threshold of 65 DNL, which has

governed FAA noise policy ever since. FICAN recognizes the need to update these

standards (AR 210, pp. 2-3), as well as the fact that annoyance and sleep

disturbance were poorly understood in 1992. AR 210, pp.3-7.

        2. WHO Environmental Noise Guidelines for European Region
           (October 2018).
        In October 2018, the World Health Organization Regional Office for Europe

published its Environmental Noise Guidelines for the European Region. Those

Guidelines found that aviation noise was connected to higher incidence of ischemic

heart disease, hypertension, “prevalence of ‘highly annoyed’” population, and a

delay in reading skills and oral comprehension in children. AR 208. As a result,

WHO made the strong recommendation that average noise exposure noise levels

produced by aircraft be reduced below 45 dB DNL, as aircraft noise above this

level is associated with adverse health effects. AR 208, pp. xvii, 61.

        WHO also made the strong recommendation that noise levels produced by

aircraft be reduced during nighttime below 40 dB DNL, as aircraft noise above this

level is associated with adverse effects on sleep. WHO strongly recommended that




1
    AR refers to the document number in the Administrative Record.

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to reduce health effects policymakers implement “suitable measures to reduce

noise exposure from aircraft in the population exposed to levels above the

guideline values for average and night noise exposure.” AR 208, pp. xvii, 61.

      3. Analysis of the Neighborhood Environmental Survey (January 2021).
      As WHO indicates, research published in the two decades since the release

of the FICON report suggests that the FICON curve substantially under-estimates

annoyance due to aircraft noise exposure. NES, p. ix (AR 224, p. 15). The

Neighborhood Environmental Survey (NES), conducted for FAA and published in

January 2021, confirmed that suggestion. As the NES pointed out, “[t]he Federal

Interagency Committee on Noise (FICON) performed the most recent in-depth

U.S. Government agency review of human annoyance to noise in 1992. The dose-

response curve that FICON developed in 1992 confirmed the appropriateness of

Federal policy at that time.” Id. The NES concludes that “the percentage of those

surveyed who were highly annoyed by aircraft noise increased monotonically with

increasing noise exposure. In comparison to prior studies on this topic, the NES’s

national curve shows substantially more people highly annoyed for a given DNL

aircraft noise exposure level.” NES, p. xi, AR 224, p. 17. The NES compared its

findings of the percent of population “highly annoyed” due to noise exposure with

the 1992 FICON Report:




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      •     At a noise exposure level of DNL 65 dB, the 1992 FICON Report

            indicated 12.3% of people were highly annoyed, compared to 60.1% -

            70.9% from the NES.

      •     At a noise exposure level of DNL 60 dB, the FICON Report indicated

            that 6.5% of people were highly annoyed, compared to 43.8% - 53.7%

            from the NES.

      •     At a noise exposure level of DNL 55 dB, the FICON Report indicated

            that 3.3% of people were highly annoyed, compared to 27.8% - 36.8%

            from the NES.

      •     At a noise exposure level of DNL 50 dB, the FICON Report indicated

            that 1.7% of people were highly annoyed, compared to 15.4% - 23.4%

            from the NES.

NES, p. 56, AR 224, p. 78. FAA knew when it developed the Phase II

Environmental Assessment that many more people in the areas around Lakeland

would be “highly annoyed” than what FAA’s models showed.

      B. Aviation Emissions are a Growing Source of Concern for Risks to
         Public Health.

      In a recent study regarding aviation, researchers found that jet engine

emissions contain large amounts of nano-sized particles, which are prone to reach




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the lower airways of the human body upon inhalation. 2 They found that the size of

particles and emission levels depend on type of aircraft, engine conditions, and fuel

type, as well as on operation modes. Moreover, the researchers reported that

exposure to jet engine emissions is associated with biomarkers of exposure and

biomarkers of effect among airport personnel, especially in ground-support

functions, and in residential areas in proximity to airports and flight paths. This

causes an increased risk of disease, increased hospital admissions and self-reported

lung symptoms among those exposed. The study concludes there is evidence that

jet engine emissions have physicochemical properties similar to diesel exhaust

particles, and that exposure to jet engine emissions is associated with similar

adverse health effects as exposure to diesel exhaust particles and other traffic

emissions.

      Likewise, using a multi-scale modeling approach, a 2022 study quantified

and monetized the air quality impact of civil aviation emissions to approximate the

effects of aircraft plume dynamics-related local dispersion (1 km), near-airport




2
  A review of health effects associated with exposure to jet engine emissions in and
around airports, Katja M. Bendtsen, Elizabeth Bengtsen, Anne T. Saber and Ulla
Vogel. Environmental Health (2021)
https://ehjournal.biomedcentral.com/track/pdf/10.1186/s12940-020-00690-y.pdf )
(last accessed July 29, 2022)

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dispersion (10 km), regional (1000 km) and global (10,000 km) scale chemistry

and transport. 3 The study used concentration-response functions to estimate

premature deaths due to population exposure to aviation-attributable PM2.5 and

ozone, finding that aviation emissions cause 16,000 premature deaths per year. Of

these, emissions from landings and take-offs contribute a quarter. The study

estimated that premature deaths due to long-term exposure to aviation-attributable

PM2.5 and ozone lead to costs of $21,000,000,000.00 per year. The study

compared these costs to other societal costs of aviation and finds they are on the

same order of magnitude as global aviation-attributable climate costs, and one

order of magnitude larger than aviation-attributable accident and noise costs.

II.   Procedural Framework
      A. The Airport’s Intermodal Feasibility Study Outlines Development of
         International Air Cargo Facility

      In July 2015 the Lakeland Linder International Airport (the “Airport”)

published its Intermodal Feasibility Study. AR 202. That report called for the




3
 Global, regional and local health impacts of civil aviation emissions, Steve H L
Yim, Gideon L Lee, In Hwan Lee, Florian Allroggen, Akshay Ashok, Fabio
Caiazzo, Sebastian D Eastham, Robert Malina and Steven R H Barrett.
Environmental Research Letters (2015)
https://iopscience.iop.org/article/10.1088/1748-9326/10/3/034001/pdf (Last
accessed July 29, 2022)

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Airport to “develop preliminary plans and costs for the construction of an

intermodal [air cargo] facility … Rough estimates show the need for a 50,000

square foot facility at $13.4 million.” AR 202, p. 73. Besides the air cargo facility,

the report stated that “[t]o accommodate larger air cargo aircraft, certain airfield

modifications will be needed.” While it did not specify what those modifications

would be, the Airport estimated the cost to be roughly $2.3 million, with the

Airport’s share being $230,000. Id.

      B. The Development of Aircraft Maintenance, Repair, and Overhaul
         Hangars and Air Cargo Facility Environmental Assessment is
         Drafted.

      To facilitate the projects suggested in the Intermodal Feasibility Study, in

July 2016, the Airport conducted its Aircraft Maintenance, Repair and Overhaul

Hangars and Air Cargo Facility environmental assessment (“Phase I EA”). The

FAA issued its Finding of No Significant Impact/Record of Decision

(“FONSI/ROD”) on August 30, 2016. Both the Phase I EA and the FONSI/ROD

are in AR 23.

      The purpose and need of the Phase I EA indicates that the primary need at

the Airport was to construct three “MRO” (Maintenance, Repair and Overhaul)

hangars. Phase I EA, AR 23, p. 9. The Phase I EA states it is for the “[i]nitial

construction and operation of one large aircraft maintenance hangar. Two

additional aircraft maintenance hangars and one air cargo building could be



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constructed at the site concurrently or within five years of the initial hangar, as

demand dictates. The footprint of the four buildings would total approximately

223,000 square feet.” Phase I EA, AR 23, p. 6 (emphasis added). The proposed

size of the air cargo facility from the Phase I EA was about 56,000 square feet.

This is the size suggested by the Intermodal Feasibility Study.

      As the Phase I EA points out, MRO facilities do not induce as many new

aircraft operations as compared to an air cargo facility. Upon completion of the

large MRO hangar, the Phase I EA says that it will cause an increase of 50

commercial and 36 general aviation operations. Phase I EA, AR 23, p.7. But, once

the air cargo facility is constructed, along with the other 2 MRO hangars, the Phase

I EA predicted an increase of 100 commercial, 96 general aviation, and 820 air

cargo aircraft operations. Id. The Phase I EA does not mention any community

involvement or community outreach. The public notice of the Draft Phase I EA

was buried in the legal notices section of a local newspaper and on the Airport

website. AR 23, pp. 175-176. No community members commented on it. Five days

after the end of the public comment period, the Airport finalized the Phase I EA

and eight days after that the FAA issued its FONSI/ROD. AR 23, p. 10.

      FAA based its FONSI/ROD in part on the fact that “the development of the

cargo facility is anticipated to attract one scheduled large cargo aircraft per day




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with a second large daily aircraft during peak periods (approximately 45 days per

year).”4 AR 23, p.8.




             Figure 1, Detail from “MRO” Environmental Assessment

      C. “Revalidation” of Existing Environmental Assessment.

      However, the project that was studied in 2016 never got built and it

languished for two years. Then, in July 2018, the Airport sought “revalidation” of

the 2016 Phase I EA stating that the 2016 Phase I EA was “unchanged.” Moreover,




4
  Each arrival or departure is considered to be one “aircraft operation.” One
scheduled flight usually amounts to two aircraft operations (i.e., one arrival and
one departure). Thus, 365 “scheduled large cargo aircraft” flights amount to 730
aircraft operations. When you add another 90 aircraft operations from the “second
large daily aircraft [for] … approximately 45 days per year” you arrive at 820
aircraft operations per year induced by the proposed air cargo facility, the amount
predicted in Phase I EA.

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the Airport told the FAA that it was still proposing three MRO hangars, and one air

cargo facility covering a total of 223,000 square feet for all four buildings. July 12,

2018 Letter, AR 25, p.3. However, the Airport said, “it would be more

advantageous to [their secret prospective tenant’s] operations to orient the cargo

building the opposite direction on the site.” Id.




              Figure 2, Detail from “Revalidation,” AR 25, Exhibit 3

      Based on new information received from the “potential tenant” of the air

cargo facility, the Airport predicted the number of air cargo operations to rise from

820 per year to 5,840 per year by 2023 (8 daily flights). The City argued in its July

12, 2018, letter that the “type of facilities in the 2016 FONSI remain unchanged,

and the overall footprint is reduced.” Unknown to the Petitioners and residents of



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Lakeland, the City was in clandestine negotiations with Amazon for the Airport to

be a hub for its “Prime Air,” which would require a much larger air cargo facility

than contemplated by either the Phase I EA or the Intermodal Feasibility Study.

      Where the scope of a project changes, FAA Order 1050.1F § 9-1, p.9-1,

requires a “written re-evaluation.” A written re-evaluation is also required when no

major steps towards implementation of the proposed action 5 have been commenced

within three years from issuance of the FONSI. AR 203, p. 97. Although the scope

of the project had changed and no major steps toward implementation had been

taken, FAA concluded on September 25, 2018, that “a Written Re-evaluation of the

2016 EA is not required.” AR 24, p.3.

      None of the documents regarding the “revalidation” were made public.

There was no public outreach. There was no opportunity for public comment.

Including them as part of the Administrative Record in this Petition for Review is

the first time that Petitioners were aware that these documents existed.

      On May 20, 2019, the City approved an initial Amazon air cargo facility of

225,000 square feet. This significantly increased the size of the air cargo facility’s




5
  The Administrative Record does not contain any evidence that major steps
towards implementation of the three MRO Hangars or the Air Cargo Facility were
commenced before August 16, 2019.

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footprint and increased fourfold the number of cargo flights once constructed. The

contract allowed Amazon to expand the air cargo facility and the City was required

to assist Amazon in obtaining the approvals for the expansion. There was no public

debate about whether the City should contract with Amazon, nor was the Lease

made public for their review.

       The City’s contract with Amazon also required the City to:

      Upgrade instrument landing systems at the airport that would facilitate

       aircraft operations in inclement weather from “CAT II” to a “CAT III”

       facility (Lease, ¶ 5.1(b), p.7);

      Rehabilitate Runway 9-27, (Lease, ¶ 5.1(c), p.7); and,

      Add five additional 15,000-gallon fuel tanks, three on the south side of the

       Airport and two on the north side of the Airport (Lease, Addendum 4-2, ¶

       1.a.ii).

FAA Order 1050.1F specifically states that “a CATEX [Categorical Exclusion]

should not be used for a segment or an interdependent part of a larger proposed

action.” FAA Order 1050.1F, § 5-1(b), AR 203, pp. 5-1. Yet on May 30, 2019,

FAA categorically excluded the rehabilitation of Runway 9-27 (May 30, 2019,

CATEX, p.1 AR 90) segment of the project. And, on April 27, 2021, FAA

categorically excluded the upgraded landing systems that would facilitate aircraft

operations in inclement weather from the project. April 27, 2021, CATEX, p.A-22,


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AR 99). The CATEX specifically ties the upgraded landing systems to Amazon’s

requirements. (“The proposed upgrade to the ILS system is to meet the current

operational needs of an air cargo service provider . . .”). Id., p.A-1. Despite FAA

Order 1050.1F’s prohibition on using a CATEX for a “segment or an

interdependent part,” neither of these projects were included in either the Phase I

EA or the Phase II Environmental Assessment, despite their interdependence on

constructing the air cargo facility.

      When the air cargo facility opened in June 2020, it looked nothing like the

facility in the 2016 Phase I EA, nor did it look anything like the facility that was

“revalidated” in 2018. The facility that opened in the summer of 2020

encompassed the Airport property that had been previously set aside for two MRO

hangars and an air cargo facility. And, far from reducing the footprint of either the

building or the covered concrete areas, the footprint for both increased. The facility

clocks in at 225,000 square feet – a far cry from the 55,000 square foot facility that

the Airport had imagined back in 2016. The number of aircraft parking spots grew

from four large aircraft in 2016, (AR 23, p. 78) to five large aircraft in 2018 (July

12, 2018 Letter, AR 25, p. 12) to an as-built size capable of parking six large cargo

aircraft, primarily Boeing 767’s and 737’s (AR 7, p. 39).




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                  Figure 3, Air Cargo Facility as built, AR 7, p. 39

      This switch from a relatively small air cargo facility (around 55,750 sq, ft.)

to a facility four times the proposed size (225,000 sq. ft.) happened largely behind

closed doors and outside the public’s view and scrutiny. The environmental impact

of an air cargo facility four times the size of the air cargo facility originally

proposed in 2016 has never been studied.

      D. Phase II Environmental Assessment

      Almost immediately after the lease with Amazon had been approved by the

City and before the initial “air cargo facility” had even begun construction, let

alone opened, Amazon exercised its legal right to expand the air cargo facility.

January 29, 2020, Email Thread, AR 253, p.1. On January 21, 2020, the Airport


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held a kick-off meeting for the “Phase II Environmental Assessment.” “Phase II”

contemplated an air cargo facility that would be about 11 times the size of the

facility mentioned in the Phase I EA, inducing over 19 times the number of new

flights at the Airport.

      Amazon began operations at its new facility at the Airport on July 23, 2020.

Sara-Megan Walsh, Amazon Air arrives at Lakeland Linder International Airport

with 1st cargo flight, Lakeland Ledger (July 23, 2020),

https://www.theledger.com/story/news/2020/07/23/amazon-air-arrives-at-lakeland-

linder-with-1st-cargo-flight/112571136/. Even without the benefit of the expanded

facility, in two years the Amazon facility has operated at the Airport, Lakeland

Linder International Airport has moved from handling no air cargo to becoming

the 4th busiest air cargo airport in Florida. Paul Nutcher, Lakeland Linder is the 4th

busiest cargo airport in Florida and getting busier, director says, Lakeland Ledger

(June 13, 2022). The most recent data show that Amazon is sending 13 air cargo

flights a day (26 aircraft operations) into and out of the Airport. Id. That is 9,490

aircraft operations a year. The Phase I EA predicted that the air cargo facility

approved would induce only 820 new aircraft operations a year by 2023. Phase I

EA, AR 23, p.7. The Revalidation was only marginally better. It predicted that the

air cargo facility would induce 5,840 aircraft operations a year by 2023. July 12,

2018, Letter, AR 26, p.3. The Project calls for a 392,200 square foot expansion,


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almost tripling the current square footage. Phase II EA, AR 7, p.1-2. Yet the Phase

II EA says that the expansion will only produce an additional 8 flights a day (16

operations) in the first year of operations, with only 12 additional flights by the

fifth year of operation. Phase II EA, AR 7, p.1-6.

      During the public comment period for the Phase II EA, FAA received over

200 comments complaining about the noise created by the 225,000 sq. ft. air cargo

facility and worried about the noise impact that almost tripling the size of the

facility to 617,000 sq. ft. would have on them. Appendix J.4, AR 18, p.4. One

resident compared the air cargo facility to a “malignant, cancerous growth [that] is

threatening our quality of life in Lakeland.” AR 18, p. 177. In response, FAA told

the concerned residents they would experience no significant impact and that no

mitigation measures would be part of the project. AR 18, pp. 437-438.

      The Phase II EA mentions in Appendix L that the Airport is supporting

revised flight procedures that may alleviate some of the noise. AR 20. But, because

these revised flight procedures are not part of the FONSI/ROD, there is no

guarantee that the Airport or FAA will (1) develop the procedures, or (2) the

procedures will provide meaningful relief to the residents.




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                          SUMMARY OF ARGUMENT
      The expansion of the Amazon Air Cargo Facility at the Lakeland Linder

International Airport (the “Airport”) will result in a dramatically greater number of

aircraft arriving and departing the Airport over residential sections of Lakeland,

Florida and its surrounding communities, and significantly increased truck traffic

in and around the Airport. FAA approved these actions in its October 29, 2021

“Finding of No Significant Impact and Record of Decision - Environmental

Assessment for Phase II Air Cargo Facility Development at Lakeland Linder

International Airport” (the “FONSI/ROD”).

      In contravention of National Environment Policy Act (“NEPA”), FAA

arrived at its conclusion that the Project would not have any significant impact on

the environment without analyzing the growth inducing and cumulative impacts of

the expansion of the Amazon air cargo facility and the previous actions.

      Because of FAA’s actions, the increased noise and emission impact will be

inflicted on Petitioners and Lakeland, Florida and its surrounding communities

from the dramatically higher volume of air cargo flights and truck traffic resulting

from the Project. These direct impacts will cause significant harm to the health,

welfare and quality of life of Petitioners and the residents of Lakeland, already

injured and harmed by the arrival of numerous air cargo flights throughout the day

and night.



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      The Court should grant the Petition for Review, vacate the FAA’s

FONSI/ROD and order a new environmental assessment to properly evaluate and

address the noise impact and environmental harm caused by the construction and

expansion of the air cargo facility along with its necessary airport projects. This is

warranted for the following reasons:

      One, the FAA violated NEPA by segmenting review of the Airport’s air

cargo facility into several projects. These projects are part of a unified whole with

functional interdependence, economic interdependence, common timing, and

geographic proximity. Essentially, the new air cargo facility at the Airport is one

project that FAA has divided into at least four segments that, collectively, may

have significant adverse environmental impacts that should have been evaluated in

a single NEPA environmental document.

      Two, FAA’s FONSI/ROD and implementation of the Project violated NEPA

by failing to consider the cumulative impact of the Airport’s and FAA’s past

actions, resulting in a false environmental baseline used to evaluate and assess the

impact of the Project.

      Three, the Phase II EA violated NEPA by failing to analyze all air quality

impacts, and not simply those covered by the presumed to conform standard. The

Phase II EA is devoid of any analysis or discussion of Hazardous Air Pollutants

and is predicated on conclusory statements regarding its finding of no significant


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air quality impacts. In doing so, the Phase II EA and the FAA’s FONSI/ROD fail

to satisfy all air quality-related requirements of NEPA.




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                   ARGUMENT/CITATIONS OF AUTHORITY

   I. Petitioners Have Article III Standing to Bring this Petition for Review.

      Petitioners have standing to sue because they have suffered an “injury in

fact” brought about by the construction and expansion of the Amazon Air Cargo

Facility at the Airport. This project is part of the FAA’s and the City of Lakeland’s

development of an air cargo facility at the Airport (the “Project”), and has resulted

in a dramatically greater number of large air cargo aircraft arriving and departing

the Airport over residential sections of Lakeland, Florida, and its surrounding

communities, and a significantly increased amount of truck traffic on the roads.

      The Project is taking place where Petitioners live and work, and the noise

impact and environmental harm inflicted on Petitioners by the Project has caused

significant harm to the health, welfare and quality of life of the Petitioners. See AR

18, pp. 134-430.

      To establish standing, Petitioners must show that (1) they have suffered an

“injury in fact” that is concrete, particularized and actual or imminent; (2) the

injury is fairly traceable to the challenged action; and (3) the injury will likely be

redressed by a favorable decision. Alabama v. United States Army Corps of

Eng'rs, 424 F.3d 1117, 1130 (11th Cir. 2005).

      Here, Petitioners can satisfy all elements required to establish standing.




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      A. Concrete and Particularized Actual Injury
      Petitioners suffered actual injury that is concrete and particularized and that

is fairly traceable to the Project and the increased flights and truck traffic resulting

from the same.

      Petitioners are individuals residing and owning property in Lakeland,

Florida and Winter Haven, Florida. Declaration of John S. Lowman IV,

Declaration of Holly Lowman, Declaration of Jabin Bonnett (together, the

“Declarations”) ¶ 1 (Declarations attached hereto as Exhibit “A”). When the FAA

and the City of Lakeland implement the Project, such actions will harm the

Petitioners in several ways. The Project will increase truck traffic and air traffic in

the Petitioners’ neighborhoods. This will increase the noise impact and air

pollution, which will injure Petitioners’ health and harm their quality of life.

Declarations, ¶¶ 2, 4-5. Because FAA and the City have implemented “Phase I” of

the development of the air cargo facility, Petitioners have experienced the harm

caused by the air cargo facility.

      Additionally, the increased air and truck traffic resulting from the Project

will harm Petitioners’ real property interests, as the noise impact and

environmental damage resulting from the Project will reduce the property value of

Petitioners’ homes. Declaration of John S. Lowman, Declaration of Holly

Lowman, ¶ 6.



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      Thus, Petitioners have suffered actual injury that is concrete and

particularized and that is fairly traceable to the Project

      B. Petitioners’ Injuries are Fairly Traceable to the Challenged Action
      The harm to Petitioners’ health, quality of life, and the diminished value of

their property are all shown to have a causal connection to the Project and the

challenged FONSI/ROD. Such injuries arise from the noise impact caused by the

Project and the environmental harm resulting from the increased air and truck

traffic because of the construction and expansion of the Amazon Air Cargo

Facility.

      To the extent that the FAA and the City of Lakeland decided in the

FONSI/ROD to not take any action in connection with the Project to address the

concerns and opposition to the Project voiced by the Petitioners and the residents

of the impacted communities, the Petitioners could ultimately show implementing

the Project was arbitrary and capricious or otherwise not in accordance with the

law under 5 U.S.C. § 706(2)(A), (D). See Utah v. Evans, 536 U.S. 452, 464

(2002). Because the Petitioners can show success on the merits, they would likely

be able show they would obtain relief that directly redresses the injuries suffered.

Id.




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      C. Petitioners Continue to Suffer Concrete Injuries Which Would be
         Redressed by the Court’s Favorable Decision Vacating the FAA’s
         FONSI/ROD for the Project

      There is a causal connection between Petitioners’ injuries described in the

preceding paragraphs and the increased truck and flight traffic resulting from the

Project. Therefore, should the Court vacate the FAA’s FONSI/ROD, a new

environmental assessment would be required that would properly evaluate and

address the noise impact and environmental harm caused by the Project. The noise

impact and environmental harm caused by the Project would be abated, and

Petitioners would not continue to suffer the concrete injuries described.

II.   Standard of Review for NEPA Claims

      NEPA requires federal agencies to identify, evaluate, and disclose to the

public the environmental impacts of proposed actions and to consider reasonable

alternatives thereto. See 42 U.S.C. § 4332(2)(C), (E); 40 C.F.R. Parts 1500-1508

(“CEQ Guidelines”). Agencies must comply with NEPA before taking any action

that could have an adverse environmental impact or limit the choice of reasonable

alternatives. 40 C.F.R. § 1506.1.

      Under NEPA, proposed actions with significant environmental effects must

be evaluated in a detailed, comprehensive Environmental Impact Statement

(“EIS”). 42 U.S.C. § 4332(2)(C). Actions with environmental effects that are less

than significant (and actions whose effects are not known) are evaluated in a more



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concise document known as an Environmental Assessment (“EA”). 42 U.S.C. §

4332(2)(E); 40 C.F.R. § 1501.3; 40 C.F.R. § 1508.9. In limited circumstances, an

agency may proceed without an EIS or an EA if its proposed action falls within a

defined Categorical Exclusion (“CATEX”). See 40 C.F.R. § 1508.4.

      As articulated by the U.S. Supreme Court, “NEPA serves two purposes:

‘First, ‘it ensures that the agency, in reaching its decision, will have available, and

will carefully consider, detailed information concerning significant environmental

impacts.’ Second, it ‘guarantees that the relevant information will be made

available to the larger audience that may also play a role in both the decision-

making process and the implementation of that decision.’” DOT v. Public Citizen,

541 U.S. 752, 768 (2004). If a NEPA environmental document does not achieve

those two purposes, it is arbitrary and capricious and not in accordance of law. Id.

      In Public Citizen, the U.S. Supreme Court emphasized the importance of the

informational purpose underlying NEPA, stating:

      The "informational role" of an EIS is to "giv[e] the public the
      assurance that the agency 'has indeed considered environmental
      concerns in its decision-making process,' Baltimore Gas & Electric Co.
      [v. Natural Resources Defense Council, Inc., 462 U.S. 87, 97, 76 L.
      Ed. 2d 437, 103 S. Ct. 2246 (1983)], and, perhaps more significantly,
      provid[e] a springboard for public comment" in the agency decision-
      making process itself, ibid. The purpose here is to ensure that the
      "larger audience," ibid., can provide input as necessary to the agency
      making the relevant decisions. See 40 CFR § 1500.1(c)
      (2003) ("NEPA's purpose is not to generate paperwork--even excellent
      paperwork--but to foster excellent action. The NEPA process is
      intended to help public officials make decisions that are based on

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       understanding of environmental consequences, and take actions that
       protect, restore, and enhance the environment"); § 1502.1 ("The
       primary purpose of an environmental impact statement is to serve as
       an action-forcing device to insure that the policies and goals defined
       in the Act are infused into the ongoing programs and actions of the
       Federal Government").

Public Citizen, 541 U.S. at 768-69.

       NEPA claims are generally subject to the arbitrary and capricious standard.

Sierra Club v. Martin, 168 F.3d 1, 3 (11th Cir. 1999). The court “must overturn

agency actions which do not scrupulously follow the regulations and procedures

promulgated by the agency itself.” Fla. Wildlife Fed'n v. United States Army Corps

of Eng'rs, 401 F. Supp. 2d 1298, 1307 (S.D. Fla. 2005), quoting Sierra Club v.

Martin, 168 F.3d 1, 4 (11th Cir. 1999) (citation omitted). The court is “duty-bound

to overturn such actions.” Florida Wildlife Federation, 401 F Supp.2nd at 1307,

citing Sierra Club v. Martin, 168 F.3d 1, 4 (11th Cir. 1999), see also, Simmons v.

Block, 782 F.2d 1545. 1550 (11th Cir. 1986).

III.   FAA Failed to Evaluate the Impacts of Constructing the Air Cargo
       Facility in Accordance with its NEPA Obligations.

       Although presented as “Phase II,” the Environmental Assessment and

FONSI/ROD to expand the Amazon air cargo facility at the Airport is just one part

of a unified whole. Since the first phase – the construction of the 225,000 square

foot facility – bore little relation to the facility examined in the Phase I EA or the

subsequent “revalidation,” it is properly included as part of the entire project. As



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stated in the ground lease between the Airport and Amazon, the rehabilitation of

Runway 9-27 and upgrading the instrument landing system to CAT III should have

all been included as part of a single environmental document. As a result of FAA’s

failures, the Phase II EA and FONSI/ROD are arbitrary and capricious because

they improperly segmented the Project and do not take the cumulative effects fully

into account.

      A. FAA Unlawfully Segmented its Review of Interconnected and
         Interdependent Projects Constructing an Air Cargo Facility at the
         Airport.
      1. FAA May Not Artificially Break Up a Single Project to Avoid
         Assessing Environmental Impacts.

      FAA violated NEPA by segmenting review of the City’s air cargo facility

into several projects. These projects are part of a unified whole with functional

interdependence, economic interdependence, common timing, and geographic

proximity. The new air cargo facility at the Airport is one project that FAA has

divided into at least four segments that, collectively, may have significant adverse

environmental impacts and should have been evaluated in a single NEPA

environmental document.

      NEPA is, “in large measure, an attempt by Congress to instill in the

environmental decision-making process a more comprehensive approach so that

long term and cumulative effects of small and unrelated decisions could be

recognized, evaluated and either avoided, mitigated, or accepted as the price to be


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paid for the major federal action under consideration.” NRDC v. Callaway, 524

F.2d 79, 88 (2d Cir. 1975). Generally, segmentation should be “avoided in order to

insure that interrelated projects, the overall effect of which is environmentally

significant, not be fractionalized into smaller, less significant actions.” Town of

Huntington v. Marsh, 859 F.2d 1134, 1142 (2d Cir. 1988). Without this rule,

developers and agencies could “unreasonably restrict the scope of environmental

review” (Fund for Animals v. Clark, 27 F. Supp. 2d 9, 16 (D.D.C. 1998)) and

evade their responsibilities under NEPA by “artificially dividing a major federal

action into smaller components, each without a ‘significant’ impact.” Coal. On

Sensible Transp. v. Dole, 826 F.2d 60, 68 (D.C. Cir. 1987). See also 40 C.F.R. §

1508.27(b)(7).

      The justification for the rule against segmentation is obvious: it “prevent[s]

agencies from dividing one project into multiple individual actions each of which

individually has an insignificant environmental impact, but which collectively have

a substantial impact.” NRDC v. Hodel, 865 F.2d 288, 297 (D.C. Cir. 1988)

(internal quotation marks omitted); see also, Thomas v. Peterson, 753 F.2d 754,

758 (9th Cir. 1985); Save the Yaak Comm. v. Block, 840 F.2d 714, 720 (9th Cir.

1988); NRDC v. Callaway, 524 F.2d 79, 87-90 (2d Cir. 1975); Manatee County v.

Gorsuch, 554 F. Supp. 778, 793 (M.D. Fla. 1982). This rule ensures that an agency

considers the full environmental impact of “connected, cumulative, or similar”


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actions before they are undertaken, so it can “assess the true costs of an integrated

project when it is best situated to evaluate ‘different courses of action’ and mitigate

anticipated effects.” City of Boston Delegation v. FERC, 897 F.3d 251-2 (D.C. Cir.

2018)

        “An agency impermissibly ‘segments’ NEPA review when it divides

connected, cumulative, or similar federal actions into separate projects and thereby

fails to address the true scope and impact of the activities that should be under

consideration.” Del. Riverkeeper Network v. FERC, 753 F.3d 1304, 1313 (D.C.

Cir. 2014); see also Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 298 (D.C.

Cir. 1987) (An agency cannot “segment” a project to avoid NEPA review “by

dividing an overall plan into component parts, each involving action with less

significant environmental effects”). An agency shall prepare a single

environmental document for actions that are “connected,” “cumulative,” or

“similar,” such that their environmental effects are best considered in a single

impact statement. Am. Bird Conservancy, Inc. v. FCC, 516 F.3d 1027, 1032 (D.C.

Cir. 2008); 40 C.F.R. § 1508.25(a). “Actions are ‘connected’ or ‘closely related’ if

they: ‘(i) Automatically trigger other actions which may require environmental

impact statements; (ii) Cannot or will not proceed unless other actions are taken

previously or simultaneously; [or] (iii) Are interdependent parts of a larger action

and depend on the larger action for their justification.’” Hammond v. Norton, 370


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F.Supp. 2d 226, 247 (D.D.C. 2005) (quoting 40 C.F.R. § 1508.25(a)(1). Similar

actions’ similarities provide a basis for evaluating their environmental

consequences together, such as common timing or geography. Id. at 246; 40 C.F.R.

§ 1508.25(a)(3).

      This prohibition against “segmentation” has also been incorporated into

FAA’s orders. FAA’s primary environmental order, 1050.1F, states that

“[c]onnected actions and other proposed actions or parts of proposed actions that

are related to each other closely enough to be, in effect, a single course of action

must be evaluated in the same EA or EIS. . .. A proposed action cannot be

segmented by breaking it down into small component parts to attempt to reduce

impacts.” FAA Order 1050.1F, AR 203, § 2-3.2(bn); pp. 2-8. When an agency fails

to use a single EA or EIS for connected actions, cumulative actions, or similar

actions, it is arbitrary and capricious, and the decision must be vacated. See Del.

Riverkeeper Network v. FERC, 753 F.3d 1304 (D.C. Cir. 2014)]

      2. The Project Is Part of a Single, Larger Project.

      In this case, the larger project is bringing air cargo operations to the Airport

through (1) the construction of a 600,000+ sq. ft. air cargo facility, that can

accommodate nine large aircraft (Boeing 767-300 and 737-800 cargo aircraft), (2)

strengthening the Airport’s runway, (3) constructing a fuel farm, and (4) installing




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CAT III ILS instrumentation. The Airport agreed to all of these projects as part of

its contract with Amazon.

          a. The Phase II Project lacks independent utility.

      A project lacks “independent utility” if it could not function or would not

have been constructed absent of another project. Wetlands Action Network v. U.S.

Army Corps of Engineers, 222 F.3d 1105, 1118 (9th Cir. 2000); see also W.N.C.

Alliance v. N.C. DOT, 312 F.Supp. 2d 765, 774-775 (E.D.N.C. 2003). This Project

lacks independent utility – it is the second phase of a two-phase project. Moreover,

this Project is functionally interdependent not only with the first phase of

construction of the air cargo facility, but also on the strengthening of the runway

and the installation of CAT III ILS instrumentation. Without the other projects,

constructing the air cargo facility is of limited value.

          b. The scope and alternatives for the Project were determined by
             factors other than the Project’s purpose and need.

      As shown by the alternatives analyses in the Phase II EA, there were no

viable alternatives to the Project. Any alternatives were non-starters since the City

according to its lease with Amazon was legally obligated to build the air cargo

facility in the northwest quadrant of the Airport as an expansion of the air cargo

facility where it had leased the property to Amazon.

      FAA confirmed that there were no viable alternatives at a February 12,

2020, meeting. FAA was asked by AECOM, the contractor conducting the

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environmental assessment, for its “recommendations on alternatives analysis since

the nature of the project will make it difficult to come up with alternatives.”

February 19, 2020, email, AR 254, p.2. FAA “suggested that alternative locations

on airport property be discussed but not studied in depth, rather, just mention why

alternate locations do not meet the purpose and need.” Id. The alternatives were

simply “straw men” to satisfy the NEPA process, offering no reasonable

alternative to the proposed project.

      A project may be impermissibly segmented if it eliminates the “no build”

alternative as a real possibility. See W. N.C. Alliance v. N.C. DOT, 312 F.Supp. 2d

765, 775 (N.C.E.D. 2003) (project that would exacerbate traffic due to existing

bottleneck foreclosed no build option for future widening of bottleneck). The lease

agreement between Amazon and the City made the expansion of the facility

inevitable. Once the City and Amazon agreed on the leased terms and once

Amazon requested that the air cargo facility be expanded the City was

contractually obligated to allow the expansion of the air cargo facility. As

Lakeland’s City Attorney told the public at a hearing on whether the City should

hold a referendum on the expansion of the air cargo facility “[t]here is a

contractual obligation on the part of the city to cooperate with Amazon to get the

approvals necessary to expand on that property.” Sara-Megan Walsh, Lakeland

'contractually obligated' to support Amazon expansion, city attorney says,


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Lakeland Ledger (June 7, 2021)

https://www.theledger.com/story/news/local/2021/06/07/lakeland-residents-call-

referendum-amazon-expansion-at-lal/7587501002/. This is borne out by the Phase

II EA.

         Once Amazon requested to expand the air cargo facility, the “no build”

option was effectively foreclosed due to the contract between Amazon and the

City.

            c. Phase I and Phase II of the construction of the air cargo facility
               are “connected” actions.

         Federal projects are “connected actions” if they “(i) Automatically trigger

other actions which may require environmental impact statements; (ii) Cannot or

will not proceed unless other actions are taken previously or simultaneously; (iii)

Are interdependent parts of a larger action and depend on the larger action for their

justification. 40 C.F.R. § 1508.25(a)(1). The Phase II portion of the Project will

necessarily not proceed unless Phase I of the air cargo facility is completed.

Likewise, the strengthening of Runway 9-27 and the installation of CAT III ILS

instrumentation are interdependent parts of the larger project. Without Amazon’s

16,000+ aircraft operations a year every day of the year, it would be impossible for

FAA and the City to justify the runway strengthening (needed for Amazon’s

Boeing 767’s and 737’s), or the installation of CAT III ILS instrumentation




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(needed to conduct aircraft operations during inclement weather) at a general

aviation airport with no commercial air service.

          d. Similar actions due to economic interdependence, common timing
             and geographic proximity all demonstrate the need to analyze the
             construction of the Amazon Air Cargo Facility as a single project.

      Federal projects should be considered together if they are “similar actions.”

40 C.F.R. § 1508.24(a)(3). Actions are considered “similar” if their similarities

provide a basis for evaluating their environmental consequences together, such as

common timing or geography. Id.

      “Common timing” provides a basis for determining whether to evaluate the

environmental consequences of two projects together. 40 C.F.R. § 1508.25(a)(3);

see also Fund for Animals v. Clark, 27 F. Supp. 2d 8, 13 (D.D.C. 1998) (“if agency

actions are similar in that they share common timing … such actions should be

addressed in the same environmental document so as to assess adequately their

combined impacts”). The Runway Rehabilitation project and the CAT III ILS

instrumentation are coeval with the construction of the air cargo facility. All of

these projects were specifically mentioned in the lease agreement between the City

and Amazon. Had they not been conducted simultaneously, the Airport would be

liable for substantial liquidated damages. The air cargo facility is essentially one

construction project constructed in to two phases with a significant overlap of

project planning and applications.


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      As the court pointed out in Delaware Riverkeeper,

         We emphasize here the importance we place on the timing of the
         four improvement projects. Separated by more time, the projects
         could have utility independent of the other projects. That is, the
         indications of the financial and functional interdependence of the
         projects might have been subsumed by the fact that Tennessee Gas
         constructed each project to be a standalone improvement for a
         substantial period of time. To take an obvious example, if the 300
         Line Project had been placed into service a decade before FERC
         considered the Northeast Project application, the timing of the
         projects would support, rather than undermine, the conclusion that
         the projects had utility independent of each other. Here, however,
         the timing does not support the independence of the projects;
         rather, we are left with the fact that financially and functionally
         interdependent pipeline improvements were considered separately
         even though the there was no apparent logic to where one project
         began and the other ended.


Del. Riverkeeper, 753 F.3d at 318.

      Likewise, in this matter, had “Phase II” been activated years after the Phase I

EA, then there might have been a conclusion that the project had “independent

utility.” However, as in Delaware Riverkeeper, the timing does not support the

independence of the projects. They are financially and functionally interdependent

airport expansion projects considered separately even though there was no

apparent logic to where one project began and the other ended.

      Geographic proximity is another factor determining whether projects should

be evaluated together. See 40 C.F.R. § 1508.25(a)(3); Fund, 27 F. Supp. 2d at 9


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(citing § 1508.25 (a)(3) to require EIS for projects that “all [took] place in the same

geographic area”). These projects were to take place at the Airport, with “Phase II”

expansion taking place adjacent to the air cargo facility. Thus, issues like wetlands,

run-off, stormwater, endangered species, etc. were raised in all of the segmented

projects.

      3. FAA and the City Were Required to Draft a Supplemental EA that
         Covered all of the Component Projects Connected to the
         Construction of the Air Cargo Facility at the Airport.


      Because of the timing and the change in scope of the Project, FAA was

required to draft a supplemental environmental assessment, not a separate

environmental assessment. That supplemental EA would then “tier” the Runway

Strengthening, Fuel Farm construction, and installation of the CAT III ILS

instrumentation so that they would all be considered in the same environmental

document. While NEPA itself does not directly address post-decision supplemental

environmental impact statements, the Supreme Court has held that NEPA requires

such supplementation. Marsh v. Or. Nat. Res. Council, 490 U.S. at 370-71; Norton

v. Southern Utah Wilderness Alliance, 542 U.S. at 72-73. "NEPA cases have

generally required agencies to file environmental impact statements when the

remaining governmental action would be environmentally 'significant.'" Marsh,

490 U.S. at 371, quoting TVA v. Hill, 437 U.S. 153, 188 n.34, (1978). The Supreme




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Court found that its reading of NEPA was supported by the CEQ regulations,

which require a supplemental statement whenever:

                  (i) The agency makes substantial changes in the proposed
                  action that are relevant to environmental concerns; or

                  (ii) There are significant new circumstances or
                  information relevant to environmental concerns and
                  bearing on the proposed action or its impacts.
                  40 C.F.R. § 1502.9(c)(1);

Marsh, 490 U.S. at 372.

      FAA memorialized these provisions in its orders. FAA Order 5050.4B, §

1402 states:

                 b.     Circumstances requiring a supplement. Text at 40
                 CFR 1502.9(c) discusses the need for supplementing EISs.
                 Based on that regulation, the following situations require
                 FAA to supplement EAs and EISs.

                 (1)     The airport sponsor or FAA makes substantial
                 changes in the proposed action that could affect the
                 action’s environmental effects. or

                 (2)     Significant new changes, circumstances or
                 information relevant to the proposed action, its affected
                 environment, or its environmental impacts becomes
                 available.

See also FAA Order 1050.1F, § 9-3, p. 9-3.




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      As to the first prong, an agency makes a "substantial change" to a proposed

action if the change "presents a seriously different picture of the environmental

impact" of the agency's action. In re Operation of Mo. River Sys. Litig., 516 F.3d

688, 693 (8th Cir. 2008); Ark. Wildlife Fed'n v. U.S. Army Corps of Eng'rs, 431

F.3d 1096, 1102 (8th Cir. 2005). An agency must consider both context and

intensity to determine whether a change is "significant." 40 C.F.R. § 1508.27. In

this matter, FAA and the City proposed to expand the air cargo facility by 392,000

sq. ft. even before Phase I of the air cargo facility had begun operations, which

substantially increased air cargo aircraft operations, impacted wetlands, impacted

air quality, and caused additional truck traffic in and around Lakeland.

      Since in this case, there remains “major Federal actio[n]” to occur – the

construction of Phase II - and the change in the size of the air cargo facility - will

“affec[t] the quality of the human environment” a supplemental EIS must be

prepared. Marsh, 490 U.S. at 373-74. See also Norton, 542 U.S. at 72-73; Sierra

Club v. U.S. Army Corps of Eng'rs., 295 F.3d 1209, 1215-16 (11th Cir.

2002); Klamath Siskiyou Wildlands Ctr. v. Boody, 468 F.3d 549, 560 (9th Cir.

2006).




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      B. FAA Violated NEPA by Failing to Take into Consideration the
         Cumulative Impact of Its Past Actions Thereby Creating a False
         Baseline.

      NEPA requires “agencies to consider the cumulative impacts of proposed

actions.” NRDC v. Hodel, 865 F.2d 288, 297 (D.C. Cir. 1988). See also TOMAC v.

Norton, 433 F.3d 852, 864 (D.C. Cir. 2006). This means an agency must analyze

the impact of a proposed project, given that project’s interaction with the effects of

“past, current, and reasonably foreseeable future actions.” 40 C.F.R. § 1508.7.

“Cumulative impacts can result from individually minor but collectively significant

actions taking place over a period of time.” Id. FAA Order 1050.1F essentially

parrots the NEPA regulations, stating that “[c]umulative impacts are those that

result from the incremental impact of the action when added to other past, present,

and reasonably foreseeable future actions, whether Federal or non-Federal.” FAA

Order 1050.1F, § 4-2(d)(3) (emphasis added).

       To that end, “[a] meaningful cumulative impact analysis must identify (1)

the area in which the effects of the proposed project will be felt; (2) the impacts

that are expected in that area from the proposed project; (3) other actions--past,

present, and proposed, and reasonably foreseeable--that have had or are expected

to have impacts in the same area; (4) the impacts or expected impacts from these

other actions; and (5) the overall impact that can be expected if the individual

impacts are allowed to accumulate.” Grand Canyon Trust v. FAA, 290 F.3d 339,



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345 (D.C. Cir. 2002). NEPA requires such an analysis because “[e]ven a slight

increase in adverse conditions . . . may sometimes threaten harm that is significant

. . . may represent the straw that breaks the back of the environmental camel.” Id.

at 343. Because FAA failed to take into account the incremental changes in the

environmental impacts from the Phase I EA, to the “revalidation” to Phase II,

(Phase II EA, AR 7, pp. 5-42 – 5-51) it failed to comply with its obligations under

NEPA and therefore the FONSI/ROD is arbitrary and capricious and not in

accordance with law.

      1. FAA’s cumulative impact analysis in the Phase II EA is inadequate
         and fails to comply with NEPA.
      NEPA’s cumulative impact analysis requirement is not satisfied where the

“analysis” merely announces there may be risks or impacts but does not provide

the kind of information about those risks or impacts that would be “useful to a

decisionmaker in deciding whether, or how, to alter the program to lessen

cumulative environmental impacts.” Hodel, 865 F.2d at 299 (“perfunctory

references” do not constitute “analysis”). A cumulative impact section that merely

“recites the history of [project] development” and then offers the “conclusory

statement” that “the cumulative direct impacts have been minimal” does not satisfy

NEPA requirements. FOE v. United States Army Corps of Eng’rs, 109 F. Supp. 2d

30, 42 (D.D.C. 2000) (citing Hodel, 865 F.2d at 298). More generally, an agency

must provide a reasoned explanation to support its assertions and conclusions;


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otherwise, its decision is arbitrary and capricious. Alpharma, Inc. v. Leavitt, 460

F.3d 1, 6 (D.C. Cir. 2006) (“Alpharma”).

      The Phase II EA does not provide information about the impact of noise that

would be useful to the public. It merely concludes that “[b]ased on the cumulative

projects any future mitigation that may be required for individual projects,

significant cumulative effects would not occur when the effects from the FAA

Proposed Action and Proposed Development Project are considered in addition to

the effects of other past, present, and reasonably foreseeable actions in the area. No

significant cumulative noise impacts are expected to occur.” Phase II EA, AR 7, p.

5-49. However, missing from this conclusion is the area in which the effects of the

proposed project will be felt, the impacts expected from the proposed projects, and

the impacts from past projects. As indicated by the public comments, the impacts

from the beginning of air cargo air traffic at the Airport have been felt well beyond

the 65 DNL contour. Yet, FAA has failed to analyze the impact on residents even

though required to by NEPA.

      FAA was well aware that aircraft noise would have an impact well beyond

the 65 DNL contour. The FAA’s own study, the NES, shows that much of the

population is “highly annoyed” by aircraft noise at levels far below 65 DNL. FAA

knew this when it undertook the Phase II EA, yet there is no mention, let alone

analysis, of how the Project will impact people beyond the 65 DNL. Again, the


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comments that FAA received indicate that the residents were already “highly

annoyed,” and that adding more air cargo flights would only increase that

annoyance. By ignoring the NES, the FAA’s Phase II EA does not measure up to

the “high quality” and “accurate scientific analysis” that NEPA’s implementing

regulations demand of environmental information provided by agencies. 40 C.F.R.

§ 1500.1; see also, 350 Mont. v. Haaland, 9 F. 4th 1158, (9th Cir. 2022). Since FAA

knows that people are “highly annoyed” at levels well below 65 DNL, it must

provide the information that is known. See Mont., 29 F.4th at 1176. Sierra Club v.

Bosworth, 510 F.3d 1016 (9th Cir. 2007) (NEPA regulations demand information

of “high quality” and of professional integrity).

      2. FAA violated NEPA by failing to consider the cumulative impact of
         its past actions.
      The goal of cumulative impact analysis is “to highlight any environmental

degradation that might occur if the minor effects of multiple actions accumulate

over time,” and thus, avoid “‘the tyranny of small decisions.’” See Habitat Educ.

Ctr., Inc. v. U.S. Forest Serv., 593 F. Supp. 2d 1019, 1029 (E.D. Wis. Jan. 2009)

(quoting Council on Environmental Quality, Considering Cumulative Effects




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Under the National Environmental Policy Act (January 1997) (CEQ Handbook). 6

Courts have found an agency's cumulative impacts analysis to be insufficient under

NEPA where an agency “failed to conduct any inquiry into the existence of present

effect[s] of past actions,” Ohio Valley Envtl. Coalition v. Hurst, 604 F. Supp. 2d

860, 886 (S.D.W.Va. 2009), or where the agency calculated the incremental impact

of an action but failed to consider the total harm when that impact is aggregated

with the impacts of other actions, see Grand Canyon Trust v. FAA, 290 F.3d 339,

345-47 (D.C. Cir. 2002). The Middle District of Florida held in St. Johns

Riverkeeper, Inc. v. United States Army Corps of Eng'rs, 462 F. Supp.3d 1256

(M.D. Fla. 2020) that “[t]he goal of the [cumulative impact] analysis is ‘to

highlight any environmental degradation that might occur if the minor effects of

multiple actions accumulate over time,’ and thus, avoid ‘the tyranny of small

decisions.’” (Citing Habitat Educ. Ctr. v. United States Forest Serv., 593 F. Supp.

2d 1019, 1029 (E.D. Wis. 2009). This is what happened in the Phase II EA.

      In this case, FAA rolled out several interdependent and connected projects

without any of the analysis required by NEPA because they were given




6
 Council on Environmental Quality, Considering Cumulative Effects Under the
National Environmental Policy Act (January 1997)
https://www.lb7.uscourts.gov/documents/15-801URL2NEPAreport.pdf (last
accessed 08/01/2022)

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“categorical exclusions.” Runway strengthening and the installation of CAT III

ILS instrumentation 7 both were given categorical exclusions. More importantly is

the situation with the Air Cargo Facility itself. Originally conceived in 2016 as a

small part of a project to bring MRO and air cargo facilities to Lakeland, the

“Phase I EA” only looked at induced impacts of additional cargo flights of 820

aircraft operations a year, or one air cargo flight per day (and an additional flight a

day for 45 days out of the year).

      However, before the MRO hangars or the air cargo facility could be built,

the City apparently began negotiations with Amazon. Because of those

negotiations, the Airport indicated that they would reach 5,400 air cargo operations

a year within one year of opening the air cargo facility. FAA claims that a new

noise analysis was done, but there is no documentation or analysis provided that

shows that FAA’s decision was reasonable or supported by documentation. The

only exhibit provided is an updated noise contour map, no further analysis was

done. In addition, the “updated noise contour maps” did not show the change from

no cargo flights to 5,400 operations. AR 25, pp.3, 13-14. Instead, it showed the




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  Indeed, the Airport had just received permission to upgrade its ILS
instrumentation to CAT II just before seeking federal funding for the installation of
CAT III instrumentation. See CAT II Upgrade CATEX, AR 91.

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change from the 2016 Phase I EA noise contour map based 820 operations to 5,400

operations. Id.

      In the Phase II EA, FAA brushes off the requirement to consider the present

effects of past actions by stating that “[n]oise generated by the operation of the

Phase I development are included and accounted for in the EA’s No-Action

Alternative.” Phase II EA, p.5-49 (AR 7, p. 160). The Phase II EA describes the

“no-action alternative” as being the operations as they would exist in 2022 with the

225,000 sq. ft. facility operating with 7,200 operations per year. Phase II EA, p. 5-

18 (AR 7, p. 116). The no-action alternative does not include the impact of FAA’s

prior actions or the cumulative effect of those past actions. FAA then compares

the modeled noise impact of the proposed action with the modeled noise impact of

the “no-action alternative” to determine if there is a “significant impact.” Id.

      But FAA’s comparison does not consider the aggregate of the incremental

changes between each of the FAA’s past actions. 40 C.F.R. § 1508.7 directs an

agency to consider that incremental impact “when added to other past, present, and

reasonably foreseeable future actions regardless of what agency … or person

undertakes such other actions.” 40 C.F.R. § 1508.7; see also, Grand Canyon Trust,

290 F.3d at 346. The introduction of air cargo aircraft at the Airport has created a

situation where residents in the areas surrounding the Airport, including

petitioners, experienced no air cargo flights to 13 flights per day over the space of


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a year or two. And now FAA wants to double that number without assessing the

damage it has already done. NEPA requires that FAA analyze these cumulative

effects of its past actions.

       FAA’s public documents and those in the Administrative Record shed no

light on the cumulative effects of past actions. As mentioned above, Chapter 5 of

the Phase II EA only offers a conclusory statement that ““[n]oise generated by the

operation of the Phase I development are included and accounted for in the EA’s

“No-Action Alternative.” Phase II EA, p.5-49 (AR 7, p. 160). Chapter 4 of the

Final EA, however, provides no additional information about how an

environmental baseline of existing noise over the Affected Environment reflect the

cumulative change of past actions. Phase II EA, pp. 4-20-4-24 (AR 7, pp. 86-89).

       Yet, Considering Cumulative Effects states that “the baseline condition of

the resource of concern should include a description of how conditions have

changed over time …” Considering Cumulative Impacts, p.41. FAA’s Order

5050.4B picks this up, requiring FAA “[t]o complete the EA’s cumulative analysis,

the Affected Environment section should include critical background information

of past, present, and reasonably foreseeable future actions.” 5050.4B, ¶ 705(e)(1),

p. 8. Because there is no “critical background information” of past actions in the

Affected Environment section of the Final EA, Phase II EA, pp. 4-1 – 4-31 (AR 7,

pp. 67-98), FAA’s Environmental Assessment is arbitrary and capricious.


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      3. The “Affected Environment” in the Phase II EA Is Unduly
         Restrictive and is in Violation of NEPA and FAA Orders.

      The “affected environment” in the Phase II EA is too restrictive. In an effort

to limit the discussion of noise impacts, FAA limited the EA’s “affected

environment” to the “area within the composite 65 decibel (dB) day-night average

sound level (DNL 65 dB) and higher noise contour of the Proposed Development

Project and retained alternatives.” Phase II EA, p.4-1 (AR 7, p. 67). This is

contrary to FAA Order 1050.1F, which described the “affected environment” as

“[t]he study area for noise . . . with the potential to be impacted by noise from the

proposed project.” FAA Order 1050.1F § B-1.3, p. B-2; see also 40 C.F.R. §

150.15. Significantly, 1050.1F states that it is the “potential to be impacted by

noise” that determines the boundaries of the affected environment. It is not the

potential to be significantly impacted by noise.

      Knowing that the FAA’s NES concludes that people are “highly annoyed” at

levels far below 65 DNL, coupled with the over 200 comments from residents in

the community complaining about the increase in noise from the existing air cargo

operations (AR 18, p. 436), FAA knew that the Phase II expansion would have

impacts on noise levels far beyond the boundaries of the 65 DNL contours. Both

1050.1F and 40 C.F.R. § 1502.15 required FAA to analyze the noise impacts

beyond the 65 DNL contour. Because of FAA’s failure, the noise analysis in the

Phase II EA is useless for the residents in the communities impacted by the


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increase in noise resulting from the doubling of air cargo operations at the Airport

due to the Project.

      4. FAA’s Use of “No Action” Conditions for Its Noise Baseline Fails to
         Capture the Impacts of Noise from FAA’s Actions Prior to the
         Project.

      FAA calculates whether a project will have a significant impact on the

environment through the change in noise created by the project. Phase II EA, p. 5-

30 (AR 7, p. 137). When considering the cumulative impact of an airport project

involving an increase in aircraft operations, FAA must look at the aggregate

change in noise from prior actions. This is not captured in FAA’s “no-action”

alternative. Phase II EA, p. 3-2 (AR 7, p. 52).

      Using the no-action alternative as a baseline does not satisfy the agency’s

obligation under NEPA to analyze cumulative effects of past actions. As explained

in Considering Cumulative Effects, “[t]he concept of a baseline against which to

compare predictions of the effects of the proposed action and reasonable

alternatives is critical to the NEPA process. The no-action alternative is an

effective construct for this purpose, but its characterization is often inadequate for

analyzing cumulative effects.” Considering Cumulative Effects, p. 41(emphasis

added). Instead of relying on the no-action alternative to analyze cumulative

effects, CEQ states that “more often, the analyst must review the history of that

resource and evaluate whether past degradation may place it near such a



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threshold.” Id. This was not done for the Phase II EA. There is no review of how

what was once perceived to be a quiet airspace with no commercial air cargo

traffic has become filled with aircraft noise and emissions, and that noise will

double with the expansion of the air cargo facility. Phase II EA, Appendix J.4, AR

18, pp. 014, 019, 020, 47, 52, 56, 57, 61, 63, 69, 70, 71, 78, 83, 85, 96, 119, 121,

128, 129, 139, 140, 141, 147, 153, 162, 165, 167, and 174.

      The EPA explained this requirement in its guidance document Consideration

of Cumulative Impacts in EPA Review of NEPA Documents.8 EPA states that “the

current condition typically may not adequately represent how actions have

impacted resources in the past … Designating existing environmental conditions as

a benchmark may focus the environmental impact assessment too narrowly,

overlooking cumulative impacts of past … actions …” Consideration, p.14. 9

      FAA’s Phase II EA in the Project offers a case-in-point as to why an

“existing conditions” baseline overlooks the cumulative impacts of past actions.

The Project presents a classic “frog-in-the-pan” scenario. When including an air




8
  Environmental Protection Agency, Consideration of Cumulative Effects in EPA
Review of NEPA Documents https://www.epa.gov/sites/default/files/2014-
08/documents/cumulative.pdf (last accessed 08/01/2022)
9
  . FAA mentions this document in FAA’s environmental order 1050.1F, see ¶ 7-
1.1(f)(5).

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cargo facility at the Airport was first considered by the FAA in 2016, the size of

the facility dictated that it would induce relatively few aircraft operations (1 daily

flight, with 2 daily flights for 45 days), so the “Phase I EA” concluded there would

be no significant impact. The pan with the frog was set on the stove. In 2018, the

Phase I EA was “revalidated,” indicating that while the secret prospective tenant

said that aircraft operations would be 5,840 by 2023, the increase from one daily

flight to eight daily flights would also not create a significant impact, the heat on

the stove was turned up more.

      Now, in the Phase II EA, FAA states that the “No Action” alternative sends

7,300 aircraft operations over the heads of Lakeland residents (Phase II EA, p. 5-1,

AR 7, p. 99), which it now uses as the no-action alternative. With 10 daily flights

over their heads, the water in the pan is already near the boiling point.10 FAA now

argues that it should be allowed to examine only the impact of turning up the heat

just a little more on those affected, i.e., the change from 7,300 to 13,140. Id.

Instead, had FAA followed FAA Orders, CEQ and EPA guidance, FAA’s

“cumulative effects” analysis would have examined the incremental impact of the




10
  It has been reported that 7,300 aircraft operations is too low. Lakeland Airport
has since reported that Amazon runs 13 daily flights a day (9,400 aircraft
operations per year). Paul Nutcher, Lakeland Linder is the 4th busiest cargo airport
in Florida and getting busier, director says, Lakeland Ledger (June 13, 2022).

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change in noise from the time before FAA first put the pan on the stove (2015),

when there were no air cargo flights, and not from the point just before the boiling

point is reached.

      FAA has in its NEPA toolbox a solution to this problem, which it chose not

to use. As EPA explained,

       [a]nother approach for describing the environmental condition is to
       use an environmental reference point that would be incorporated into
       the environmental consequences and affected environment sections
       of the document. In analyzing environmental impacts, this
       environmental reference point would not necessarily be an
       alternative. Instead, it would serve as a benchmark in assessing the
       environmental impacts associated with each of the alternatives.
       Specifically, the analysis would evaluate the degree of degradation
       from the environmental reference point (i.e., natural ecosystem
       condition) that has resulted from past actions. Then the relative
       difference among alternatives would be determined for not only
       changes compared to the existing condition but also changes critical
       to maintaining or restoring the desired, sustainable condition.
Considering, p.39.

      FAA’s cumulative effects analysis in the Phase II EA is precisely the

“tyranny of small decisions” that NEPA was trying to avoid by requiring federal

agencies to consider the cumulative effects of past actions. Through these

incremental changes the noise levels over Lakeland increased in steps. FAA

claimed that at each step there was no “significant” increase. But FAA has left

unexamined the change in noise impact between 2015 (when there were no air

cargo aircraft operations) and 2027 (when the air cargo facility will run at

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capacity). This failure violates NEPA’s cumulative effects requirement rendering

the FAA’s decision arbitrary and capricious.

IV.   The FAA Violated NEPA by Failing to Analyze All Air Quality Impacts
      The Clean Air Act specifically addresses the need for federal projects to

address general conformity, which concerns “criteria pollutants.” 42 U.S.C.

7506(c). NEPA and its regulations, however, require more than a conformity

analysis with air quality. NEPA requires a federal agency, such as FAA, to broadly

consider whether the action has “[e]ffects that would violate Federal, State, Tribal,

or local law protecting the environment.” 40 C.F.R. § 1501.3(b)(2)(iv). FAA

Order 1050.1F states that “an impact on air quality or Federal, state, tribal or local

air quality standards under the Clean Air Act” is an extraordinary circumstance

necessitating further environmental review. FAA Order 1050.1F § 5-2(b)(8).

Likewise, FAA Order 5050.1B points out that “NEPA is more rigorous in that it

may require detailed analysis where it is not needed under the Clean Air Act’s

(CAA) general conformity provisions.” FAA Order 5050.4B, Chap. 1, § 1a. Thus,

the Phase II EA also violated NEPA by failing to analyze all air quality impacts,

and not simply those covered by General Conformity or the presumed to conform

standard.

      The Phase II EA blithely states that because the Airport is an “Attainment

Area” for the criteria air pollutants, it need not perform any additional analysis.



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“Because the Proposed Development Project is not expected to generate

operational or construction-related emissions that would exceed one or more

NAAQS, or would not increase the frequency or severity of any such existing

condition, the Proposed Development Project would not exceed impact threshold

identified in FAA Order 1050.1F that would indicate a significant impact.” Phase

II EA, p.5-4 (AR 7, p. 102). However, the significance thresholds mentioned in

1050.1F were promulgated specifically to satisfy FAA obligations under the Clean

Air Act, not to satisfy all air quality-related requirements of NEPA. 1050.1F § 5-

2(b)(8).

      Since the purpose of an environmental assessment is to address and provide

information regarding all environmental impacts, not just providing a showing that

there will be no significant impact, the Phase II EA falls short. As this Court

pointed out in Black Warrior Riverkeeper, Inc. v. U.S Army Corps of Eng'rs, 833

F.3d 1274, 1278 (11th Cir. 2016) NEPA informs agency decisionmakers of the

environmental effects of proposed federal actions and ensures that relevant

information is provided to members of the public so they may also play a role in

both the decision-making process and the implementation of that decision. The

purpose of an EA is to provide information about the environmental impacts of a

federal project, not just to determine if there will be significant effects.




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      Toward that end, FAA has published the Aviation Emissions and Air Quality

Handbook, AR 200, a handbook whose purpose is:

             To provide guidance, procedures, and methodologies
             appropriate for use in carrying out air quality assessments
             prepared in association with FAA-supported projects/actions;

             To help ensure that these air quality assessments meet the
             requirements of the National Environmental Policy Act
             (NEPA), the federal Clean Air Act (CAA), and other relevant
             laws and regulations.

AR 200, p.20.

      Noticeably absent from the Phase II EA is any discussion of Hazardous Air

Pollutants. Hazardous air pollutants (HAPs) are pollutants for which there are no

National Ambient Air Quality Standards (NAAQS) but are still regulated under the

federal Clean Air Act because of their potentially adverse effects on human health

and the environment. 42 U.S.C. § 7412. These pollutants, such as formaldehyde,

acetaldehyde, benzene, toluene, acrolein, 1,3-butadiene, xylene, lead, naphthalene

and propionaldehyde, are present in the exhaust of aircraft, Ground Support

Equipment (GSE), Auxiliary Power Units (APU), motor vehicle engines, boilers,

fuel facilities, and other stationary sources at airports. Aviation Emissions

Handbook, p. 44 (AR 200, p. 53). Many of these sources are included in Phase II.

      Since 2003, FAA has been providing guidance to preparers of environmental

assessments and environmental impact statements on how to address hazardous air


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pollutants. In 2003 the FAA issued Select Resource Material and Annotated

Bibliography on the Topic of Hazardous Air Pollutants (HAPs) Associated With

Aircraft, Airports and Aviation. Aviation Emissions Handbook, p.45, AR 200, p.

54).11 Among the key findings from this initial publication was the need for a more

unified approach and technical guidelines for evaluating HAPs emissions for

aviation-related sources. Twice in 2009 FAA issued guidance related to hazardous

air pollutants. First, in May 2009, EPA and FAA jointly published the

Recommended Best Practice for Quantifying Speciated Organic Gas Emissions

from Aircraft Equipped with Turbofan, Turbojet, and Turboprop Engines 12

document. This document contained organic gas speciation profiles and best

practices for hazardous air pollutant emission inventories of aircraft equipped with

turbofan, turbojet, and turboprop engines fueled with kerosene-based jet-A fuel. Id.

Also, in September 2009, FAA issued its Guidance for Quantifying Speciated




11
   FAA, Select Resource Material and Annotated Bibliography on the Topic of
Hazardous Air Pollutants (HAPs) Associated With Aircraft, Airports and Aviation,
Technical Directive Memorandum D01-010, July 1, 2003,
https://www.faa.gov/regulations_policies/policy_guidance/envir_policy/media/HA
Ps_rpt.pdf
12
   FAA and EPA, Recommended Best Practice for Quantifying Speciated Organic
Gas Emissions from Aircraft Equipped with Turbofan, Turbojet, and Turboprop
Engines, May 2009 [EPA-420-R-09-0901].
https://www.faa.gov/regulations_policies/policy_guidance/envir_policy/media/FA
A-EPA_RBP_Speciated%20OG_Aircraft_052709.pdf

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Organic Emissions from Airport Sources.13 This document offers guidance on how

to prepare HAPs inventories supporting EAs and EISs prepared by, or on behalf of,

the FAA under NEPA. Aviation Emissions Handbook, p.46 (AR 200, p. 55). When

a HAPs inventory is prepared, the inventory must be prepared following this

guidance and using EDMS/AEDT. Id. Included in the guidance is a flow chart to

determine when a HAPs emission inventory must be prepared. Id.; see also

Guidance for Quantifying, Figure 3, p.14.




13
  FAA, Guidance for Quantifying Speciated Organic Gas Emissions from Airport
Sources, Version 1, September 2, 2009,
http://www.faa.gov/regulations_policies/policy_guidance/envir_policy/media/Guid
ance%20for%20Quantifying%20Speciated%20Organic%20Gas%20Emissions%2
0from%20Airport%20Sources.pdf

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Speciated Organic Gas Emissions Guidance, figure 3, p.14.

      Following the above flow chart, a HAPs inventory should have been created

in this matter.




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       Flow Chart Question                   Answer Regarding Phase II EA
 Is Project/Action being assessed as an     EA.
 EIS or EA?
 Is this a Major Project/Action?            Yes

 Is a Criteria Air Pollutant Emissions      Yes. See Phase II EA, p. 5-2
 Inventory Being Prepared?                  (Construction Emissions) and p. 5-3
                                            (Operational Emissions) in 2022 and
                                            2027).
 Conclusion                                 Compute HAP Emission Inventory for
                                            Each Alternative (but only report
                                            project-related HAPs in NEPA
                                            documentation).


      Because the Project will increase the number of air cargo flights from zero to

16,000+, the impact of the emissions from the aircraft flying above them must be

analyzed. Coupled with the many complaints to FAA about emissions from aircraft

in the public comments (see, e.g., AR 18, pp. 187, 384, 416, 460, 462, 466, 469,

470, 475, 485, 486, 516, 522, 525, 531, 533, and 541), this makes it unreasonable,

arbitrary and capricious for FAA to rely exclusively on the presumed to conform

list as a basis for compliance with NEPA. Without further analysis of the air

quality impacts, the Phase II EA is arbitrary and capricious.




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                                 CONCLUSION
      As set forth above, the FAA’s decision in its October 29, 2021 “Finding of

No Significant Impact and Record of Decision - Environmental Assessment for

Phase II Air Cargo Facility Development at Lakeland Linder International Airport”

failed to adequately consider and analyze the noise impact, air quality impact and

environmental harm presented by the Project, as required under NEPA. As a

result, the Phase II EA and FONSI/ROD are arbitrary and capricious and should be

overturned. Petitioners respectfully request the Court to:

      One, vacate and remand for adequate review and analysis under NEPA the

FAA’s October 29, 2021 “Finding of No Significant Impact and Record of

Decision - Environmental Assessment for Phase II Air Cargo Facility

Development at Lakeland Linder International Airport.” Vacatur of FAA’s action

is appropriate. See, New York v. Nuclear Regulatory Comm’n, 681 F. 3d 471, 473

(D.C. Cir. 2012) (vacating NRC’s rulemaking because of deficient NEPA

environmental review). Under Allied-Signal v. Nuclear Regulatory Comm’n, 988

F.2d 146, 150-51 (D.C. Cir. 1993), a decision to vacate “depends on the

seriousness of the order’s deficiencies (and thus the extent of doubt whether the

agency chose correctly) and the disruptive consequences of an interim change that

may itself be changed.”) (citation and quotation marks omitted). Both Allied-Signal

factors support vacating the FAA’s FONSI/ROD. First, as set forth in Petitioners’



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Opening Brief, the FAA’s failure to adequately assess the noise and air quality

impacts of the Phase II Air Cargo Facility Development at Lakeland Linder

International Airport led to an action that has substantial noise and air quality

impacts on Petitioners, Lakeland and its surrounding communities. Second, vacatur

would not disrupt FAA’s operations at the Airport, as the construction and

expansion of the Air Cargo Facility pursuant to the Phase II Air Cargo Facility

Development Project is still in its preliminary stages and FAA operations will be

able to continue in their present state while the FONSI/ROD is remanded for

appropriate review under NEPA.

   Two, require FAA to adequately consider the noise and air quality impacts of all

federal projects connected to the construction and expansion of the air cargo

facility at Lakeland Linder Airport under NEPA.

Dated: August 1, 2022                        _______________________________
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                      CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume limitation set forth in

Fed.R.App. 32(a)(7)(B) because it contains 12,395 words. I further certify that this

Petition complies with the typeface requirements of Federal Rule of Appellate

Procedure 32(a)(5) and the type-style requirements of Federal Rule of Appellate

Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in Times New Roman 14-point font.

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                         CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of the Court

for the United States Court of Appeals for the Eleventh Circuit by using the

appellate CM/ECF system on August 1, 2022. I certify that all participants are

registered CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.

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